

Mecca v Alternative Living Services-New York, Inc. (2023 NY Slip Op 02420)





Mecca v Alternative Living Services-New York, Inc.


2023 NY Slip Op 02420


Decided on May 5, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 5, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, CURRAN, BANNISTER, AND MONTOUR, JJ.


185 CA 22-00493

[*1]CAROL MECCA, AS EXECUTOR OF THE ESTATE OF ROSEMARY MECCA, DECEASED, PLAINTIFF-RESPONDENT,
vALTERNATIVE LIVING SERVICES-NEW YORK, INC., AND BROOKDALE WILLIAMSVILLE, DEFENDANTS-APPELLANTS. (APPEAL NO. 1.) 






ROACH, BROWN, MCCARTHY &amp; GRUBER, P.C., BUFFALO (MEGHANN N. ROEHL OF COUNSEL), FOR DEFENDANTS-APPELLANTS. 
BROWN CHIARI, LLP, BUFFALO (JESSE A. DRUMM OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Frederick J. Marshall, J.), entered March 28, 2022. The order, among other things, denied in part the motion of defendants for summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on April 24, 2023,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: May 5, 2023
Ann Dillon Flynn
Clerk of the Court








